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1    Roger M. Townsend
     BRESKIN, JOHNSON & TOWNSEND, PLLC
     1000 Second Ave, Suite 3670
2    Seattle, WA 98104
     Phone: (206) 652-8660
3

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6              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF WASHINGTON
7
      JEREMY OLSEN,
8                                             No. 2:21-cv-00326-SMJ
                         Plaintiff,           PLAINTIFF’S RESPONSE
9                                             TO DEFENDANT’S CROSS
      v.                                      MOTION FOR SUMMARY
                                              JUDGEMENT
10    XAVIER BECERRA, in his official
      capacity as Secretary of the
11    United States Department of
      Health and Human Services,
12
                         Defendant.
13
           The Secretary is a bad faith actor whose illegal policies have
14
     intentionally, irreparably injured tens of thousands, including by
15
     causing their deaths.      The Secretary is a bad faith litigant who
16
     previously engaged in “bad faith mischaracterizations” to this court.
17
           Moreover, the Secretary has engaged in improper litigation
18
     conduct: the Secretary previously failed to serve the certified
19
     administrative record with his response to the Complaint (as required
20
     by statute) and then failed to comply with this Court’s order to do so.

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1    This Court has characterized that conduct as “vexatious.”             The

2    Secretary repeated that vexatious conduct in this case when he,

3    again, intentionally, failed to serve the certified administrative record

4    until months after it was due. When he did so, the record was filled

5    with materials that were not considered by either the ALJs of the

6    Medicare Appeals Council (MAC) considering the claims at issue.

7    These materials were thrown in because the Secretary thinks they

8    are helpful; a practice that is plainly improper in this action.

9          Incredibly, after this Court’s “bad faith” finding, the Secretary

10   continued to deny Mr. Olsen’s claims on the same bad faith grounds

11   leading to this suit. Indeed, after the filing of this suit, the Secretary

12   continued to deny Mr. Olsen’s claims on the same bad faith grounds.

13   See Dkt. #35 at 1-2 (describing the rejection of Olsen’s claim for

14   coverage of sensors on November 10, 2021, and denial of his

15   request for redetermination on January 6, 2022). There is an active

16   controversy in this case that needs to be resolved by the Court.

17         The Secretary’s motion should be denied.            While styled a

18   motion for “summary judgment”, what the Secretary actually seeks is

19   dismissal for lack of jurisdiction. The Secretary’s citation to related

20   activity at the Tenth Circuit in the Smith case omits an important fact:

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1    while the Tenth Circuit was drafting its decision, the Secretary was

2    drafting his latest denial of Mrs. Smith’s CGM claims. This and other

3    errors with regard to the mootness inquiry were brought to the Tenth

4    Circuit’s attention in a petition for rehearing/rehearing en banc and

5    the Tenth Circuit has ordered a response from the Secretary by

6    October 25, 2022.

7                                I.      DISCUSSION

8    A.    Objection to the Non-Record Materials Relied on by the
           Secretary
9
           As previously noted by Olsen, the administrative record served
10
     by the Secretary in this case contains improper materials. See Dkt.
11
     #40. The Secretary relies on these improper materials in support of
12
     his current motion.
13
           By way of background, pursuant to 42 U.S.C. § 405(g):
14
           As part of the Commissioner’s answer the Commissioner
15         of Social Security shall file a certified copy of the
           transcript of the record including the evidence upon which
16         the findings and decision complained of are based.

17   This is one of the statutes passed by Congress that the Secretary

18   chooses to routinely defy. As noted above, in the prior case, the

19   Secretary failed to comply with the statute. Then, this Court ordered

20   the Secretary to comply by a specific date, which the Secretary also


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1    did not do. This Court characterized that conduct as “vexatious.” See

2    Olsen v. Becerra, 2021 WL 3683360 *2, n.1 (E.D. Wash. April 20,

3    2021).

4          In the present case, again, the Secretary defied Congress and

5    did not serve the administrative record with his answer. When he

6    finally did serve a record, it was not complete. Dkt. #15, 19. Then,

7    he served another version that contained materials not part of the

8    administrative record, that the Secretary included because he

9    thought it would help his case. See Dkt. #33, 40. Because these

10   materials were not considered by any entity below or exchanged with

11   Mr. Olsen or Mrs. Olsen, they are not part of the Administrative

12   Record. See, e.g., 42 C.F.R. § 405.1042(a).         The materials in the

13   filed record appearing at AR29-42, AR510-545, and AR561-569 are

14   not part of the record. Nevertheless, the Secretary relies on them

15   throughout his brief.

16         It is elemental that, in an Administrative Record review case,

17   the record is limited to materials considered below and not a new

18   record made initially for the reviewing court. See, e.g., Ranchers

19   Cattlemen Action Legal Fund United Stockgrowers of Am. v.

20

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1    U.S.D.A., 499 F.3d 1108, 1117 (9th Cir. 2007) (citing Camp v. Pitts,

2    411 U.S. 138, 142 (1973)).

3          Thus, these materials may not be relied on by the Court and

4    the arguments based on them should be stricken.

5    B.    The Secretary’s Arguments Regarding Non-CMS-1682
           Related Claims Are Baseless
6
           1.    The Secretary’s Contentions Regarding the
7                Two Claims in This Case

8          With regard to the two claims at issue in this case, the

9    Secretary contends that Olsen is financially responsible for them,

10   and, therefore, absent reversal, Mr. Olsen remains subject to

11   recoupment of monies paid on them, including by deducting the

12   monies from Mr. Olsen’s Social Security benefits. See, e.g., AR12

13   (“[Olsen] remains financially responsible for the non-covered costs.”);

14   AR390([Olsen] is financially responsible for the non-covered costs.”);

15   42 C.F.R. § 405.352. Unless and until the Secretary’s denial of

16   coverage is reversed, this case cannot be moot or dismissed. See

17   Prayer for Relief, ¶¶ 4 (“not supported by substantial evidence”) and

18   5 (“provide coverage for the claims at issue”).

19         The Secretary blames Olsen for the fact that the Secretary

20   again engaged in bad faith in denying his claims. Mot. at 6. It is

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1    precisely this kind of alternate reality that led the Secretary to cause

2    so much suffering and death through the ridiculous contention that a

3    CGM is not “primarily and customarily used to serve a medical

4    purpose”.

5          Similarly, the Secretary contends that the actual results of the

6    statutorily mandated adjudicative process at the Department: “have

7    no practical or legal effect” and “exist only on paper.” Mot. at 6-7.

8    This is a position lacking in candor as even the Secretary’s own

9    regulations describe these as decisions that are “binding” on the

10   parties, absent appeal/judicial review. See 42 C.F.R. §§ 405.1048(a)

11   (ALJ decision - “binding on all parties”); 405.1130 (MAC decision -

12   “binding on all parties”). The result of the decisions denying Olsen’s

13   claims in bad faith yet again that Olsen is subject to recoupment and

14   only a decision of this Court can remove that liability.

15         2.    The Secretary’s Contentions Regarding Due Process

16         As set forth in the Complaint and Olsen’s co-pending motion for

17   summary judgment, Olsen also alleges a Due Process violation and

18   seeks appointment of a Special Master to oversee the Secretary’s

19   handling of CGM claims. See Complaint at Count IV and Prayer for

20   Relief, ¶ 6. No person could have ever in good faith thought that a

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1    CGM was not “primarily and customarily used to serve a medical

2    purpose.” That is a bad faith position that the ALJs and the MAC

3    (and the lower bodies) asserted hundreds of thousands of times. As

4    alleged by Olsen, the ALJ and the MAC did so because they are not

5    neutral decisionmakers and, rather than their oaths and the laws of

6    the United States, their fealty is to the Secretary and whatever illegal,

7    ridiculous, deadly position he asserts.

8          The Secretary’s motion first contends that Olsen was not

9    denied his property interest because the claims were paid. Mot. at

10   17.   Even the Secretary does not really appear to believe that

11   because he concedes that, as a result of the denial of his claims,

12   Olsen is subject to recoupment. Olsen has a property interest in

13   receiving his Medicare benefits free from encumbrances. Thus, the

14   Secretary’s motion in this regard is without basis.

15         Pursuant to the statutes, payments for covered Medicare

16   benefits are made either to or on behalf of beneficiaries and suppliers

17   have no independent right to payment.                  See 42 U.S.C. §

18   1395ff(a)(1)(A)     (“entitled    to   benefits”)    and    1395k(a)(1)/(2)

19   (“entitlement to have payment made to him or on his behalf”). Thus,

20

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1    the Secretary’s contention that “any right to reimbursement belongs

2    to MiniMed” (Mot. at 18) is wholly without basis.

3            Without factual support, the Secretary asserts that MiniMed

4    covered the full costs of the CGM sensors that are the subject this

5    case.    Id.   That is without basis.    Instead, generously, MiniMed

6    engaged in forbearance and did not immediately demand payment

7    while the appeal process played out.          As described in the very

8    decisions that are the subject of this case, Olsen remained financially

9    responsible and, at any time, MiniMed could have both demanded

10   payment and ceased providing supplies. AR12 (“[Olsen] remains

11   financially responsible for the non-covered costs.”); AR390([Olsen] is

12   financially responsible for the non-covered costs.”).

13           The Secretary attempts to defend the lack of neutrality of the

14   ALJs and the MAC and their repeated and faith conduct on the

15   grounds that “they were doing their job”, when they applied a facially

16   illegal and bad faith position to deny the claims of tens of thousands.

17   Mot. at 19-20. That is not the ALJ and the MAC’s job. Their job is to

18   faithfully and impartially apply the laws of the United States. Thus,

19   the ALJs and the MAC cannot be bound by illegal policies of the

20   Secretary. Likewise, the ALJs and the MAC cannot be bound by bad

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1    faith positions asserted by the Secretary, even if those assertions are

2    in the form of a CMS “Ruling.” Similarly, if tomorrow the Secretary

3    issues a “ruling” that ALJs and the MAC are required to always deny

4    coverage, the ALJs and the MAC will not be “doing their job” if they

5    follow that illegal, biased policy.

6          Here, the ALJs and the MAC demonstrated that they were not

7    impartial when they followed an illegal, bad faith policy just because

8    the Secretary told them to. In no sense could such conduct be

9    neutral, independent, and unbiased. That they item at issue is a life-

10   saving device which the Secretary and his ALJ’s and the MAC

11   intentionally denied tens of thousands illustrates that abhorrent

12   nature of the breach of the ALJs’ and the MAC’s duties. Again, the

13   Secretary’s motion should be denied and Olsen’s motion granted.

14   C.    The Secretary Did Not Carry His Burden to Show Mootness

15         Next, the Secretary alleges that the case is moot because, after

16   this suit was filed, the Secretary began taking steps to rescind his

17   illegal, bad faith policy. The Secretary alleges he did so on May 13,

18   2022 (i.e., four days before oral argument in the Tenth Circuit), after

19   steadfastly defending the illegal policy, he enforced for more than five

20   years that caused so much human suffering.

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 1         To recap, in response to numerous losses before his own ALJ’s

 2   reversing denials contending that CGMs were not “durable medical

 3   equipment”, the Secretary issued CMS 1682-R with immediate effect,

 4   without complying with the notice and comment provisions of 42

 5   U.S.C. § 1395hh. As provided there, the Secretary asserted the bad

 6   faith position that a CGM was not “primarily and customarily used to

 7   serve a medical purpose” and, therefore, was not “durable medical

 8   equipment.” As a CMS “Ruling”, the discretion ALJ’s previously had

 9   to order coverage of CGMs was eliminated and ALJs and the MAC

10   were “bound” by CMS 1682-R (subject to their oaths of office). See

11   42 C.F.R. § 405.1063(b) (“CMS Rulings are … binding”).

12         Thereafter, the Secretary denied the claims of thousands

13   based on this illegal, bad faith policy. As recounted above, even after

14   this Court found the policy to constitute bad faith, the Secretary

15   continued to deny CGM claims on the bad faith grounds. Indeed, the

16   Secretary only substantively reacted after the filing of this case.

17         The filing of this case and its assignment to the same judge

18   who made the bad faith finding caused the Secretary to take (further)

19   steps to avoid judicial review. In particular, after this case was filed

20   in November, in December the Secretary issued a proposed final rule

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 1   to take effect on March 1, 2022, only for some CGM claims. Then,

 2   in an effort to resist Olsen’s motion for a preliminary injunction, the

 3   Secretary issued the TDL, with immediate effect, purporting to

 4   retroactively cover some CGM claims. Like CMS 1682-R, the TDL

 5   issued in violation of the notice and comment provisions of § 1395hh.

 6   Next, four days before appellate oral argument in Smith, again

 7   without notice and comment, the Secretary issued CMS 1738

 8   purporting to retroactively apply the “final” rule.

 9         The Secretary contends that the courts are powerless to stop

10   him. See Dkt. #17 at 9-10. That is a position the Secretary has also

11   advanced in both the Smith and Lewis cases.

12         As explained by the Supreme Court in U.S. v. W.T. Grant Co.,

13   345 U.S. 629, 632 (1953) (cleaned up):

14         [V]oluntary cessation of allegedly illegal conduct does not
           deprive the tribunal of power to hear and determine the
15         case, i.e., does not make the case moot. A controversy
           may remain to be settled in such circumstances, e.g., a
16         dispute over the legality of the challenged practices. The
           defendant is free to return to his old ways. This, together
17         with the public interest in having the legality of the
           practices settled, militates against a mootness
18         conclusion. … The courts have rightly refused to grant
           defendants such a powerful weapon.
19
     Although a defendant can try to prove “no reasonable expectation
20
     that the wrong will be repeated,” its burden “is a heavy one.” Id. at
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 1   633; Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S.

 2   167, 189-190 (2000) (standard is “stringent” and the burden is

 3   “formidable”). Even if a defendant ceases the challenged conduct,

 4   the plaintiff’s claims will be moot only if the defendant proves that (1)

 5   “it is absolutely clear the allegedly wrongful behavior could not

 6   reasonably be expected to recur,” and (2) “interim relief or events

 7   have completely and irrevocably eradicated the effects of the alleged

 8   violation.” Los Angeles County v. Davis, 440 U.S. 625, 631 (1979).

 9   The Supreme Court has explained that a mere alleged change in

10   behavior and a professed disclaimer of any intention to revive the

11   conduct does not suffice to make a case moot, but they are factors

12   to be considered. Grant, 345 U.S. 633 (“Such a profession does not

13   suffice to make a case moot …”).

14         1.     “Reasonable Expectation”

15         When considering “reasonable expectation”, inter alia, a court

16   should consider: 1) the bona fides of the expressed intent to comply;

17   2) the effectiveness of the discontinuance; and 3) the character of the

18   past violations. Grant, 345 U.S. at 633.

19                a.     Bona Fides

20

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 1         With regard to bona fides, efforts to defeat judicial review

 2   (whether to avoid a sanction or insulate a prior decision) counsel

 3   against a finding of mootness. Knox v. S.E.I.U., 567 U.S. 298, 307

 4   (2012) (post-certiorari change “must be viewed with a critical eye”);

 5   City of Erie v. Pap’s A.M., 529 U.S. 277, 288 (2000) (“Our interest in

 6   preventing litigants from attempting to manipulate the Court’s

 7   jurisdiction to insulate a favorable decision from review further

 8   counsels against a finding of mootness here.”). Here, the Secretary’s

 9   substantive efforts did not begin until after this case was filed in an

10   effort to avoid a judicial review and the sought after preliminary

11   injunction.

12         Moreover, a significant factor in making the “reasonable

13   expectation” determination is whether the defendant continues to

14   maintain that its prior conduct was lawful. If so, then there is no

15   reason to expect that a defendant will refrain from engaging in that

16   conduct in the future, despite a momentary change.             Walling v.

17   Helmerich & Payne, Inc., 323 U.S. 37, 42-43 (1944); Knox, 567 U.S.

18   at 307 (“since the union continues to defend the legality of the

19   Political Fight-Back Fee, it is not clear why the union would

20

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 1   necessarily refrain from collecting similar fees in the future.”). Here,

 2   the Secretary has always defended his illegal conduct.

 3         Another factor is how long the challenged policy has been in

 4   effect. Gray v. Sanders, 372 U.S. 368, 376 (1963). Here, for more

 5   than five years, the Secretary imposed his illegal, bad faith policy.

 6                b.     Effectiveness of Discontinuance

 7         Under Grant, a Court evaluating mootness should consider the

 8   effectiveness of discontinuance. Grant, 345 U.S. at 633.

 9         Defiance of the notice and comment provisions is the very

10   foundation of this case which the Secretary contends is legal (and

11   that the Courts are powerless to stop him even if illegal). Indeed, the

12   Secretary repeated that misconduct after this case was filed when he

13   issued the TDL, without complying with the notice and comment

14   provisions of § 1395hh. Given his contentions, the Secretary could

15   never meet has “heavy burden” to show “effectiveness of

16   discontinuance.”

17                c.     Character of Past Violations

18         Pursuant to Grant, a Court evaluating mootness should, in

19   some cases, consider the character of past violations. Grant, 345

20   U.S. at 633. If the past violation was an inadvertent traffic offense,

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 1   that might be one thing. If the past violation caused disability and

 2   death, another.

 3         Olsen will not belabor the point but simply says that the

 4   character of the past violations of the very worst sort.

 5                d.     “Completely and Irrevocably Eradicate the
                         Effects of the Alleged Violation”
 6
           The Secretary bears the “heavy burden” of proving that “interim
 7
     relief or events have completely and irrevocably eradicated the
 8
     effects of the alleged violation.” Davis, 440 U.S. at 631.
 9
           Here, the Secretary did not even attempt to show compliance
10
     with this prong of the analysis. The Secretary has offered nothing
11
     about his effort to pay claims denied in the past or even to publicize
12
     the change of policy so that those subject to his past misconduct can
13
     know of the change.        Having totally failed to even present any
14
     argument/evidence in this regard, the Secretary did not meet his
15
     burden.
16
                  e.     The Secretary’s Comments Regarding Smith
17
           With regard to mootness, the Secretary almost exclusively
18
     relies on the Tenth Circuit’s decision in Smith. As detailed above, in
19
     addition to other errors, the Tenth Circuit simply assumed that the
20
     Secretary would not engage in continued wrongful behavior by
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 1   denying CGM claims. Of course, that is not consistent with the

 2   “heavy burden” standard dictated by the Supreme Court.

 3         Moreover, amazingly, the Secretary actually denied another of

 4   Smith’s claims within days of the Tenth Circuit’s decision and the

 5   Tenth Circuit has called for a response by the Secretary due October

 6   25. Thus, the Tenth Circuit’s confidence that further denials could

 7   not reasonably be expected was disproved almost immediately by

 8   the Secretary.

 9                              II.     CONCLUSION

10         For the reasons set forth above, the Secretary’s motion should

11   be denied in its entirety and Olsen’s motions granted.

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       PLAINTIFF’S RESPONSE TO DEFENDANT’S
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 1          Respectfully submitted October 17, 2022.
 2
                             PARRISH LAW OFFICES
 3

 4                             By: /s/ James C. Pistorino
                                 James C. Pistorino
 5                               Pro Hac Vice

 6                           BRESKIN, JOHNSON, & TOWNSEND,
                             PLLC
 7

 8                           By: s/ Roger Townsend
                                 Roger M. Townsend, WSBA No. 25525
 9                               rtownsend@bjtlegal.com
                                 1000 Second Ave, Suite 3670
10                               Seattle, WA 98104
                                 Phone: (206) 652-8660
11
                             Attorneys for Plaintiff
12

13

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       CAPTION - 1
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 1                        CERTIFICATE OF SERVICE
 2          I hereby certify under penalty of perjury under the laws of the
     state of Washington that on the date below, I electronically filed the
 3
     foregoing document with the Clerk of the Court using the CM/ECF
 4   system which will send notification of such filing to all counsel of
 5   record.

 6          Vanessa R. Waldref
            United States Attorney
 7          John T. Drake
            Assistant United States Attorney
            UNITED STATED DEPARTMENT OF JUSTICE
 8          920 W. Riverside Ave, Suite 340
            Spokane, WA 99201
 9

10          DATED October 17, 2022, at Seattle, Washington.

11                                         s/ Abby Henry
                                             Abby Henry, Legal Assistant
12

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       CAPTION - 2
